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PROB 22                                                                                                          DOCKET NUMBER (Iran. Court)
(Rev. 01/24)
                                                                                                                 4:20CR00252-003
                                      TRANSFER OF JURISDICTION
                                                                                                                 DOCKET NUMBER (Rec. Court)
                                                                                                                25tp80021 Cannon
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                      DISTRICT                               DIVISION


David Warren                                                              Eastern District of Texas              Sherman Division

                                              TM                          NAME OF SENTENCING JUDGE

                                                                          The Honorable Amos L. Mazzant, III
                                  Jun 27, 2025
                                                                          DATES OF PROBATION/                    FROM            TO
                                                 WPB                      SUPERVISED RELEASE:
                                                                                                                 08/28/2024      08/27/2029
OFFENSE

Conspiracy to Commit Illegal Renumerations - 18 U.S.C. § 371


JUSTIFICATION/REASON FOR TRANSFER (e.g., prosocial ties, employment/education opportunities, violation of supervision)-

David Warren began his term of probation in the Southern District of Florida, West Palm Beach Division on
August 28, 2024, and he has a stable residence and employment with no ties to the Eastern District of Texas. He
intends to remain in the Southern District of Florida throughout his term of probation.

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE           EASTERN DISTRICT OF TEXAS
         IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of this Court to the United States District Court for the Eastern
District of Florida, West Palm Beach Division upon that Court's order of acceptance of jurisdiction. This Court
hereby expressly consents that the period of probation or supervised release may be changed by the District Court to
which this transfer is made without further in uir of this court.*


          June 23, 2025
                          Date
*This sentence may be deleted in the discretion of the transferring Court.                      AMOS L. MAZZANT, III

PART 2 - ORDER ACCEPTING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
      IT IS HEREBY ORDERED that jurisdiction over the above-name
and assumed by this Court from and after the entry of this order.


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                        IN THE UNITED STATES DISTRICT COURT                       NOV 1 '2020
                         FOR THE EASTERN DISTRICT OF TEXAS                    Clerk, U,S. District Court
                                    SHERMAN DIVISION i                              Texas Eastern


  UNITED STATES OF AMERICA §
                                               § No. 4:20-CR-252
  v. § JUDGE ALM/KPJ
                                               §
  STEVEN CHURCHILL (01) §
  SAMSON SOLOMON (02) ' §
  DAVID WARREN (03) §
  DANIEL STADTMAN (04) §
  LYDIA HENSLEE (05) §

                          FIRST SUPERSEDING INDICTMENT

  THE UNITED STATES GRAND JURY CHARGES:

                                     General Allegations

         At all times relevant to this Indictment:

         The Medicare Program

         1. The Medicare Program ( Medicare ) is a federal health care program

  providing benefits to persons who are over the age of sixty-five and some persons under

  the age of sixty-five who are blind or disabled. Medicare is administered by the Centers

  for Medicare and Medicaid Services (CMS), a federal agency under the United States

  Department of Health and Human Services (HHS). Individuals who receive benefits

  under Medicare are referred to as Medicare beneficiaries.”


         2. Medicare is a “health care benefit program,” as defined by Title 18, United

  States Code, Section 24(b), in that it is a public plan affecting commerce under which

  medical benefits, items, and services are provided to individuals and under which




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  individuals and entities who provide medical benefits, items, or services may obtain

  payments.

         3. Medicare is a Federal health care program, as defined by Title 42, United

  States Code, Section 1320a-7b(f), in that it is a plan or program that provides health

  benefits, whether directly, through insurance, or otherwise, which is funded directly, in

  whole or in part, by the United States Government.

         4. The Medicare payment system is comprised of four parts: Medicare Part

  A, which provides, among other things, hospital, home health, and skilled nursing care;

  Medicare Part B, which provides coverage for physician services and outpatient care,

  including coverage for durable medical equipment, prosthetics, orthotics, and supplies

  (DMEPOS); Medicare Part C, which provides managed care coverage; and Medicare Part

  D, which covers prescription drug benefits.

         5. A Medicare Administrative Contractor (MAC) is a private health care

  insurer that has been awarded a geographic jurisdiction to process Medicare Part A and

  Part B claims for Medicare Fee-For-Service beneficiaries. The MAC also administers the

  provider enrollment process. CMS relies on a network of MACs to serve as the primary

  operational contact between the Medicare program and health care providers enrolled, or

  seeking to become enrolled, in the program.

         6. DMEPOS is equipment that may be used in the home on a repeated basis

  for a medical purpose. DMEPOS suppliers who meet certain criteria may obtain

  Medicare provider numbers, which allow them to submit claims directly to Medicare in




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  order to receive reimbursement for the cost of DMEPOS supplied to eligible Medicare

  beneficiaries.

         7. DMEPOS companies are prohibited from receiving payments for items or

  services:

                   a. That are not reasonable and necessary for the diagnosis or treatment of


                      illness or injury or to improve the functioning of a malformed body

                      member or which are not reasonable and necessary for the prevention of


                      illness,

                   b. For which the individual furnished such items or services has no legal

                      obligation to pay and which no other person has a legal obligation to

                      provide or pay for,

                   c. That constitute personal comfort items, or

                   d. Where such items are for custodial care.

         8. It is the obligation of the health care providers, including DMEPOS

  companies, to assure that services or items:

                   a. Are provided economically and only when, and to the extent, medically

                      necessary, and

                   b. Are supported by evidence of medical necessity.

         9. Orthotic devices are a type of DMEPOS that includes rigid and semi-rigid

  devices such as ankle, knee, back, elbow, wrist, and hand braces.


         10. Physicians, DMEPOS companies, and other healthcare providers that

  provide services to Medicare beneficiaries are refe red to as Medicare providers. To

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  participate in Medicare, providers are required to submit an application in which they

  certify that they understand and ill abide by the federal laws and regulations governing

  their participation in Medicare, including a specific understanding of 42 U.S.C. § 1320a-

  7b(b), Illegal Remunerations, also known as the Anti-Kickback Statute.

         11. When Medicare approves a provider s application, Medicare issues the

  provider a unique provider number, known as a National Provider Identifier ( NPI ).

  Medicare uses the NPI to identify the provider in claims submitted for payment. CMS

  contracts with MACs to perform all enrollment activities for providers.

         12. Upon enrollment, Medicare issues providers a provider manual that

  describes the requirements to participate in the Medicare program, as well as ongoing

  newsletters advising them of the additional requirements for participation and instructions

  on what services Medicare covers. Medicare manuals and other resources are also

  publically-a ailable online.

         13. CMS also contracts with MACs to administer Medicare Part B claim

  payments, which includes claims for DMEPOS. Each time a provider submits a claim to

  Medicare, the provider certifies the claim is true, correct, and complete, and complies

  with all Medicare laws and regulations. The claims are generally submitted

  electronically.


         14. Individuals who qualify for Medicare benefits are commonly referred to as

  Medicare beneficiaries. Each beneficiary is assigned a Health Insurance Claims Number

  ( HICN ).



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         15. A provider, including a DMEPOS company, enrolled as a Medicare

  provider is able to f e claims with Medicare to obtain payment for services provided to

  beneficiaries. A Medicare claim for DMEPOS reimbursement is required to set forth,

  among other things, the beneficiary s name and Medicare HICN, the equipment provided

  to the beneficiary, the date the equipment was provided, the cost of the equipment, and

  the name and identification number of the physician or other health care provider who

  prescribed or ordered the equipment.

         16. Under Medicare rules, Medicare Part B pays for the cost of medically

  necessary orthotic braces and equipment when supplied to a beneficiary if the beneficiary

  had a debilitating medical condition which would be improved by the use of an orthotic

  brace, and the need for the orthotic brace was documented by a licensed physician or

  approved medical practitioner in the form of a physician's order or, in some cases, a

  CMN.

         17. In order for a DME supplier to be paid for providing an orthotic brace to a

  beneficiary, Medicare requires the supplier to obtain documentation that the orthotic

  brace was medically necessary. Although no specific document outside of a physician's

  order or CMN is required to support the patient's medical need for the equipment, the

  patient's treating physician is required to assess the patient's need for and potential benefit

  from an orthotic brace.

         Special Fraud Alert

         18. In January 2010, the HHS Office of Inspector General (OIG) reissued an

  updated Special Fraud Alert on Telemarketing by Durable Medical Equipment Suppliers,

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  which the OIG originally issued in March 2003. In the Special Fraud Alert, the OIG

  stated that Section 1834(a)(17)(A) of the Social Security Act prohibits DMEPOS

  providers from making unsolicited phone calls to Medicare beneficiaries, unless they

  meet one of three exceptions: (1) the beneficiary gave written permission to the provider

  to make contact by telephone; (2) the contact is regarding a covered item the provider

  already furnished to the beneficiary; or (3) the supplier has furnished at least one covered

  item to the beneficiary during the preceding fifteen months. The OIG emphasized that

  pursuant to the Social Security Act, DMEPOS providers cannot use an independent

  marketing firm to make unsolicited telephone calls to Medicare beneficiaries to market

  DME. In addition, the OIG stated that a DME supplier is responsible for verifying that

  marketing activities performed by third parties with which the supplier contracts or

  otherwise does business do not involve prohibited activity and that information purchased

  from such third parties was neither obtained, nor derived, from prohibited activity.

         The Defendants and Associated Companies

         19. Steven Churchill resided in or around Boca Raton, Florida.

         20. Samson Solomon resided in or around West Palm Beach, Florida.

         21. LPI Media Group, Inc. (LPI Media Group) was a Florida company. LPI

  Media Group was formed in or about March 2016. The company is currently active.

  Steven Churchill is the Owner and President of LPI Media Group. Samson Solomon

  worked on behalf of LPI Media Group.

         22. David Warren resided in or around Boca Raton, Florida.




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         23. M&M Medical Support, LLC was a Florida limited liability company

  o ned by David Warren. David Warren formed M&M Medical Support on August 11,

  2016. On November 13, 2017, M&M Medical Support became a DMEPOS Medicare

  provider, specifically providing braces.

         24. Daniel Stadtman resided in or around Allen, Texas.


         25. Lydia Henslee resided in or around McKinney, Texas.

         26. Unindicted Co-conspirator 1 resided in or around McKinney, Texas.

         27. Dandee Group, LLC was a Texas limited liability company owned by

  Daniel Stadtman and Unindicted Co-conspirator 1. Daniel Stadtman formed Dandee

  Group, LLC on February 8, 2017.

         28. Unindicted Co-conspirator 2 resided in or around Flower Mound, Texas.


         29. MedPro was an assumed name for a business owned by Unindicted Co¬


  conspirator 1 and Unindicted Co-conspirator 2. MedPro became inactive in or around

  August 2018. Lydia Henslee was an employee of MedPro.

         30. LAC Media Group was an assumed name for a business owned by

  Unindicted Co-conspirator 1. Lydia Henslee was an employee of LAC Media Group.




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                                            COUNT 1

                                                             Violation: 18U.S.C. § 371
                                                             (Conspiracy to Commit Illegal
                                                             Remunerations)

         1. The General Allegations sections of this Indictment are realleged and

  incorporated by reference as though Mly set forth herein.

         2. From in or around February 2018, and continuing thereafter until or about

  April 2019, the exact dates being unknown to the Grand Jury, in the Eastern District of

  Texas, and elsewhere, the defendants, Steven Churchill, Samson Solomon, David


  Warren, Daniel Stadtman, and Lydia Henslee, knowingly and willfully conspired and

  agreed with others, both known and unknown to the Grand Jury, to commit and abet

  certain offenses against the United States:

                a. to violate the Anti-Kickback statute by nowingly and willfully

                        soliciting or recei ing any remuneration, including any kickback,

                        directly or indirectly, overtly or covertly, in cash or in kind, in return

                        for referring Medicare beneficiaries to a person for the furnishing or

                        arranging for the furnishing of any item or service for which

                        payment may be made in whole or in part under a Federal health

                        care program, namely the Medicare program, in violation of 42

                        U.S.C. § 1320a-7b(b)(l)(A);

                b. to violate the Anti-Kickback statute by knowingly and willfully

                        soliciting or receiving any remuneration, including any kickback,

                        directly or indirectly, overtly or covertly, in cash or in kind, in return

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                         for purchasing, leasing, ordering, or arranging for or recommending

                         purchasing, leasing, or ordering any good, facility, service, or item

                         for which payment may be made in whole or in part under a Federal

                         health care program, namely the Medicare program, in violation of

                         42 U.S.C. § 1320a-7b(b)(l)(B);

                 c. to violate the Anti-Kickback statute by knowingly and willfully

                         offering or paying remuneration, including any kickback, directly or

                         indirectly, overtly or covertly, in cash or in kind, to any person to

                         induce the referral of Medicare beneficiaries for the furnishing or

                         arranging for the furnishing of any item or service for which

                         payment may be made in whole or in part under a Federal health

                         care program, namely the Medicare program, in violation of 42

                         U.S.C. § 1320a-7b(b)(2)(A); and

                 d. to violate the Anti-Kickback statute by knowingly and willfully

                         offering or paying remuneration, including any kickback, directly or

                         indirectly, overtly or covertly, in cash or in kind, to any person to

                         induce the purchase, lease, order, or arrange for or recommend


                         purchasing, leasing, or ordering any good, facility, service, or item

                         for which payment may be made in whole or in part under a Federal

                         health care program, namely the Medicare program, in violation of

                         42 U.S.C. § 1320a-7b(b)(2)(B).



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                                     Object of the Conspiracy

          3. It was the object of the conspiracy for the defendants, Steven Churchill,

   Samson Solomon, David Warren, Daniel Stadtman, and Lydia Henslee, and their co¬


   conspirators to unlawfully enrich themselves by paying and receiving kickbacks in

   exchange for the referral of and arranging for health care business for which payment

   may be made in whole or in part under the Medicare program, to conceal the kickback

   arrangements, and to use the kickbacks and the proceeds of the kickback arrangements

   for their personal benefit, as well as that of others.

                             Manner and Means of the Conspiracy

          The manner and means by which the defendants and their co-conspirators sought

   to accomplish the object and purpose of the conspiracy included, among others, the

   following:

          4. M&M Medical Support was a DMEPOS provider in Florida that

   specialized in braces, also known as orthotics.


             5. David Warren, individually and through his company M&M Medical,

   paid a network of patient lead companies in exchange for signed prescriptions for

   braces.


             6. Daniel Stadtman, Steven Churchill, Samson Solomon, Unindicted Co¬

   conspirator 1, Unindicted Co-conspirator 2, and Lydia Henslee, individually and through

   their companies, generated business for M&M Medical Support, and other DMEPOS

   providers, in exchange for kickback payments, namely payments in exchange for, or




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   arranging for, orthotics referrals for w ich payment may be made in whole or in part

   under the Medicare, Medicaid, or other Federal health care programs.

          7. Daniel St dtman, individually and through his company Dandee Group,

   obtained the orthotics referrals he sold to M&M Medical Support and other DMEPOS

   providers by making kickback payments to Unindicted Co-conspirator 1, Unindicted Co¬

   conspirator 2, and Lydia Henslee, individually and through their company MedPro, in

   exchange for orthotics referrals for which payment may be made in whole or in part

   under the Medicare, Medicaid, or other Federal health care programs.

          8. Unindicted Co-conspirator 1, Unindicted Co-conspirator 2, and Lydia

   Henslee, individually and through their companies MedPro and LAC Media Group,

   obtained the orthotics referrals for which payment may be made in whole or in part under

   the Medicare, Medicaid, or other Federal health care programs that they later sold to

   David Warren and M&M Medical Support and other DMEPOS providers, by making

   kickback payments to Steven Churchill and Samson Solomon, individually and through

   LPI Media Group, in exchange for Medicare patient information.

          9. Using the patient lead information, Unindicted Co-conspirator 1,

   Unindicted Co-conspirator 2, and Lydia Henslee, individually and through their

   companies, created fictitious prescriptions for braces and sold the fictitious prescriptions

   as referrals for which payment may be made in whole or in part under the Medicare,

   Medicaid, or other Federal health care programs to Steven Churchill, Samson Solomon,

   David Warren, and Daniel Stadtman, individually and through their companies.




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          10. David W rren, individually and through M&M Medical Support, paid

   approximately $433,500 for orthotics referrals.

          11. After receiving the orthotics referrals from the patient lead companies,

   M&M Medical Support submitted claims to Medicare for payment. M&M Medical

   Support billed Medicare at least $3,781,105 for orthotics generated from the referrals it

   obtained from his co-conspirators. Medicare paid M&M Medical Support at least

   $763,869 for those orthotics.

          12. Steven Churchill and Samson Solomon, individually and through LPI

   Media Group, paid approximately $1,223,126.56 for orthotics referrals,

                                           Overt Acts

          In furtherance of the conspiracy and to effect the objects thereof, the following

   o ert acts, among others, were committed in the Eastern District of Texas and elsewhere:

          David Warren s Payments to D ndee Group and LAC Media Group

          13. On or about February 1, 2018, David Warren entered into an illegal

   remuneration agreement with Daniel Stadtman and Unindicted Co-conspirator 1 through

   their business Dandee Group. Between February 2018 and August 2018, David Warren

   paid Dandee Group approximately $192,250 in exchange for orthotics referrals.

          14. On or about the dates specified below in the payment date column, to the

   particular entity or individual specified, and in the amounts specified, a portion of which

   constituted illegal remunerations, David Warren, individually and through his company

   M&M Medical Support, knowingly and willfully paid remuneration, including any

   kickback, directly and indirectly, overtly and covertly, in cash and in kind, to Daniel

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   Stadtman and Uni dicted Co-conspirator 1, through their business Dandee Group, for

   the referral of and arranging for the furnishing of any item and service for which for

   which payment may be made in whole and in part under the Medicare program and in

   return for arranging for the ordering of any service and item for which payment may be

   made in whole and in part under the Medicare program; and Daniel Stadtman and

   Unindicted Co-conspirator 1, acting through Dandee Group, knowingly and willfully

   received remuneration, including any kickback, directly and indirectly, overtly and

   covertly, in cash and in kind, in return for referring Medicare beneficiaries for the

   furnishing and arranging for the furnishing of any item and service for which payment

   may be made in whole and in part under the Medicare program and in return for

   arranging for the ordering of any service and item for which payment may be made in

   whole and in part under the Medicare program.

            Overt
             Act     Payment Date         Amount                     Entity
               a.         2/5/2018         $9,000               Dandee Group
               b.          4/6/2018        $6,750               Dandee Group
               c.         4/16/2018        $6,750               Dandee Group
               d.         4/19/2018        $6,750               Dandee Group
               e.         4/23/2018        $6,750               Dandee Group
               f.         4/30/2018        $9,000               Dandee Group
               g-          5/4/2018        $7,000               Dandee Group
               h.          5/8/2018        $9,000               Dandee Group
               i.         5/10/2018        $6,750               Dandee Group
               .1-        5/22/2018        $9,000               Dandee Group
               k.         5/25/2018        $9,000               Dandee Group
               1.          6/1/2018        $9,000               Dandee Group
               m.          6/8/2018        $9,000               Dandee Group
               n.         6/25/2018        $10,500              Dandee Group
               0.          7/2/2018        $10,500              Dandee Group


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            Overt
             Act     Payment Date         Amount                     Entity
               P-          7/9/2018        $10,500               Dundee Group
               q-         7/16/2018        $10,500               Dandee Group
               r.         7/20/2018        $10,500               Dundee Group
               s.         7/23/2018        $2,250                Dandee Group
               t.         7/30/2018        $10,500               Dandee Group
               u.         7/30/2018        $2,250                Dandee Group
               V.          8/6/2018        $10,500               Dandee Group
               w.         8/14/2018        $10,500               Dandee Group

          15. On or about October 11, 2018, David Warren entered into an illegal

   remuneration agreement with Unindicted Co-conspirator 1, who was acting through his

   business, LAC Media Group. Between October 2018 and May 2019, David Warren

   paid LAC Media Group approximately $240,750 in exchange for orthotics referrals.

          16. On or about the dates specified below in the payment date column, to the

   particular entity or indi idual specified, and in the amounts specified, a portion of which

   constituted illegal remunerations, David Warren, individually and through his company

   M&M Medical Support, knowingly and willfully paid remuneration, including any

   kickback, directly and indirectly, o ertly and covertly, in cash and in kind, to Unindicted

   Co-conspirator 1, through his business LAC Media Group, for the referral of and

   arranging for the furni hing of any item and service for which for which payment may be

   made in whole and in part under the Medicare program and in return for arranging for the

   ordering of any service and item for which payment may be made in whole and in part

   under the Medicare program; and Unindicted Co-conspirator 1, acting through LAC

   Media Group, knowingly and willfully received remuneration, including any kickback,

   directly and indirectly, overtly and covertly, in cash and in kind, in return for referring

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   Medicare beneficiaries for the furnishing and arranging for the furnishing of any item and

   service for which payment may be made in whole and in part under the Medicare

   program and in return for arranging for the ordering of any service and item for which

   payment may be made in whole and in part under the Medicare program.

            Overt
             Act     Payment Date        A o nt                 Entity
               a.         10/12/2018    $5,625.00           LAC Media Group
               b.         10/18/2018    $5,625.00           LAC Media Group
               c.         10/25/2018    $5,625.00           LAC Media Group
               d.         10/29/2018    $3,375.00           LAC Media Group
               e.          11/1/2018    $9,000.00           LAC Media Group
               f.          11/6/2018    $9,000.00           LAC Media Group
               K-         11/14/2018    $9,000.00           LAC Media Group
               h.         11/16/2018    $9,000.00           LAC Media Group
               i.         11/21/2018    $9,000.00           LAC Media Group
               i-         11/26/2018    $9,000.00           LAC Media Group
               k.         11/28/2018    $9,000.00           LAC Media Group
               1.          12/3/2018    $9,000.00           LAC Media Group
               m.          12/7/2018    $9,000.00           LAC Media Group
               n.         12/14/2018    $9,000.00           LAC Media Group
               0.         12/19/2018    $5,625.00           LAC Media Group
               P-          1/7/2019     $5,625.00           LAC Media Group
               q.          1/10/2019    $5,625.00           LAC Media Group
               r.          1/15/2019    $5,625.00           LAC Media Group
               s.          1/17/2019    $5,625.00           LAC Media Group
               t.          1/23/2019    $5,625.00           LAC Media Group
               u.          1/25/2019    $9,000.00           LAC Media Group
               V.          1/30/2019    $9,000.00           LAC Media Group
               w.          2/1/2019     $9,000.00           LAC Media Group
               X.          2/7/2019     $9,000.00           LAC Media Group
               y-         2/12/2019     $9,000.00           LAC Media Group
               z.         2/14/2019     $9,000.00           LAC Media Group
               aa.        2/20/2019     $9,000.00           LAC Media Group
               bb.        2/22/2019     $9,000.00           LAC Media Group
               cc.        2/27/2019     $9,000.00           LAC Media Group
               dd.        3/27/2019     $4,500.00           LAC Media Group

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            Overt
             Act     Payment Date         Amount                    Entity
               ee.        4/4/2019        $4,500.00           LAC Media Group
               ff.        4/9/2019        $4,500.00           LAC Media Group
               gg.        5/21/2019       $2,250.00           LAC Media Group

          Dandee Group Payments to MedPro and LAC Media Group

          17. Between May 2018 and August 2018, Daniel Stadtman paid MedPro and

   LAC Media Group approximately $37,000 in exchange for orthotics referrals.

          18. On or about the dates specified below in the payment date column, to the

   particular entity or individual specified, and in the amounts specified, a portion of which

   constituted illegal remunerations, Daniel Stadtman through Dandee Group knowingly

   and willfully paid remuneration, including any kickback, directly and indirectly, overtly

   and covertly, in cash and in kind, to Unindicted Co-conspirator 1, Unindicted Co¬

   conspirator 2, and Lydia Henslee, through MedPro and LAC Media Group, for arranging

   for the furnishing of any item and service for which payment may be made in whole and

   in part under the Medicare program and in return for arranging for the ordering of any

   service and item for which payment may be made in whole and in part under the

   Medicare program; and Unindicted Co-conspirator 1, Unindicted Co-conspirator 2, and

   Lydia Henslee, through MedPro and LAC Media Group, knowingly and willfully

   received remuneration, including any kickback, directly and indirectly, overtly and

   covertly, in cash and in kind, in return for arranging for the furnishing of any item and

   service for which payment may be made in whole and in part under the Medicare

   program and in return for arranging for the ordering of any service and item for which

   payment may be made in whole and in part under the Medicare program.

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             Overt
               Act    Payment Date         Amount                   Entity
                 a.       5/31/2018        $2,000.00               MedPro
                 b.       6/11/2018        $4,000.00               MedPro
                 c.       6/25/2018        $3,000.00               MedPro
                 d.       7/6/2018         $3,000.00               MedPro
                 e.       7/10/2018        $3,000.00               MedPro
                 f.       7/16/2018        $2,000.00          LAC Media Group
                 g-       7/16/2018        $3,000.00               MedPro
                h.        7/24/2018        $2,000.00          LAC Media Group
                 i.       7/24/2018        $3,000.00               MedPro
                j-        7/31/2018        $3,000.00               MedPro
                k.        7/31/2018        $2,000.00          LAC Media Group
                 1.        8/6/2018        $2,000.00          LAC Media Group
                m.         8/6/2018        $3,000.00               MedPro
                n.        8/14/2018        $2,000.00          LAC Media Group
                 0.       8/14/2018        $3,000.00               MedPro

          LPI Media Group Payments to MedPro and LAC Media Group

          19. Between July 2018 and April 2019, Steven Churchill and Samson

   Solomon, through LPI Media Group, paid MedPro and LAC Media Group approximately

   $1,223,126.56 in e change for orthotics referrals.

          20. On or about the dates specified below in the payment date column, to the

   particular entity or individual specified, and in the amounts specified, a portion of which

   constituted illegal remunerations, Steven Churchill and Samson Solomon, through LPI

   Media Group, knowingly and willfully paid remuneration, including any kickback,

   directly and indirectly, overtly and covertly, in cash and in kind, to Unindicted Co¬

   conspirator 1, Unindicted Co-conspirator 2, and Lydia Henslee, through MedPro and

   LAC Media Group, for arranging for the furnishing of any item and service for which

   payment may be made in whole and in part under the Medicare program and in return for


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   arranging for the ordering of any service and item for which payment may be made in

   whole and in part under the Medicare program; and Unindicted Co-conspirator 1,

   Unindicted Co-conspirator 2, and Lydi Henslee, through MedPro and LAC Media

   Group, knowingly and willfully received remuneration, including any kickback, directly

   and indirectly, overtly and covertly, in cash and in kind, in return for arranging for the

   furnishing of any item and service for which payment may be made in whole and in part

   under the Medicare program and in return for arranging for the ordering of any service

   and item for which payment may be made in whole and in part under the Medicare

   program.


              Overt
               Act        Payment Date       Amount                   Entity
                 a.        7/23/2018        $9,500.00                MedPro
                 b.        7/30/2018        $17,280.00               MedPro
                 c.         8/7/2018        $16,800.00               MedPro
                 d.        8/15/2018        $20,160.00               MedPro
                 e.        8/22/2018        $20,756.00         LAC Media Group
                 f.        8/22/2018        $22,960.00         LAC Media Group
                 K-        8/28/2018        $38,880.00         LAC Media Group
                 h.         9/5/2018        $30,560.00         LAC Media Group
                 i.        9/12/2018        $39,920.00         LAC Media Group
                h          9/19/2018        $19,460.00         LAC Media Group
                 k.        9/27/2018        $31,150.00         LAC Media Group
                 1.         10/3/2018        $7,420.00         LAC Media Group
                 m.         10/9/2018       $15,330.00         LAC Media Group
                 n.        10/16/2018       $19,250.00         LAC Media Group
                 0.        10/23/2018       $15,960.00         LAC Media Group
                 P-        10/30/2018       $17,850.00         LAC Media Group
                 q-         11/8/2018       $23,730.00         LAC Media Group
                 r.        11/15/2018       $30,000.00         LAC Media Group
                 s.        11/20/2018        $7,100.00         LAC Media Group
                 t.        11/21/2018       $49,420.00         LAC Media Group
                 u.        11/28/2018       $22,400.00         LAC Media Group

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             Overt
               Act        Payment Date    Amount              Entity
                V.         11/29/2018    $12,040.00     LAC Media Group
                 w.         12/7/2018    $59,990.00     LAC Media Group
                 X.        12/13/2018    $31,720.00     LAC Media Group
                 y-        12/27/2018    $43,730.00     LAC Media Group
                 z.        12/31/2018    $45,830.00     LAC Media Group
                 aa.        1/7/2019     $21,280.00     LAC Media Group
                 bb.        1/15/2019    $33,180.00     LAC Media Group
                 cc.        1/22/2019    $49,000.00     LAC Media Group
                 dd.        1/25/2019    $38,080.00     LAC Media Group
                 ee.        2/4/2019     $26,040.00     LAC Media Group
                 ff.        2/8/2019     $33,250.00     LAC Media Group
                 gg-       2/14/2019     $50,890.00     LAC Media Group
                 hh.       2/22/2019     $37,450.00     LAC Media Group
                 ii.        3/1/2019     $25,000.00     LAC Media Group
                 ii-        3/4/2019     $12,130.00     LAC Media Group
                 kk.        3/8/2019     $39,510.00     LAC Media Group
                 11.       3/15/2019     $40,000.00     LAC Media Group
                mm.        3/19/2019     $15,900.00     LAC Media Group
                 nn.       3/21/2019     $52,780.00     LAC Media Group
                 00.       3/31/2019     $37,500.00     LAC Media Group
                 pp.        4/2/2019     $13,460.56     LAC Media Group
                 qq-        4/5/2019     $28,480.00     LAC Media Group

          All in violation oflBU.S.C. §371.




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               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
     Pursuant to 18 U.S.C. § 981(¥)QYCh 18 U.S.C. § 982(a)(7), and 28 U.S.C. § 2461(c

          1. The allegations contained in Count 1 this Indictment are realleged and

   incorporated by reference as though fully set forth herein for the purpose of alleging

   forfeiture to the United States of America of certain property in which the defendants

   have an interest.

          2. Upon conviction of any violation of 18 U.S.C. § 371, the defendants,

   Steven Churchill, Samson Solomon, David Warren, Daniel Stadtman, and Lydia

   Henslee, shall forfeit to the United States any property, real or personal, that constitutes

   or is derived from proceeds traceable to a violation of any offense constituting specified

   unlaw ul activity, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

          3. Upon conviction of any Federal health care offense, the defendants, Steven

   Churchill, Samson Solomon, David Warren, Daniel Stadtman, and Lydia Henslee,

   shall forfeit to the United States any property, real or personal, that constitutes or is

   derived, directly or indirectly, from gross proceeds traceable to the commission of the

   offense, pursuant to 18 U.S.C. § 982(a)(7).

          4. Pursuant to 21 U.S.C. § 853(p), as incorporated by reference by 18 U.S.C. §

   982(b), if any of the forfeitable property, or any portion thereof, as a result of any act or

   omission of the defendant:

                 a. Cannot be located upon the exercise of due diligence;

                 b. Has been transferred, or sold to, or deposited with a third party;

                  c. Has been placed beyond the jurisdiction of the Court;


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                 d. Has been substantially diminished in value; or

                 e. Has been commingled with other property which cannot be subdivided

                     without difficulty;

   it is the intent of the United States to seek the forfeiture of other property of the defendant

   up to the value of the above-described forfeitable properties, including, but not limited to,

   any identifiable property in the name of the defendants, Ste en Churchill, Samson

   Solomon, Da id Warren, Daniel Stadtman, and Lydia Henslee.

          5. The property which is subject to forfeiture, includes but is not limited to the

   following:

                          Cash Proceeds:

                          A sum of money equal to $2,919,135.00 in United States
                          currency, and all interest and proceeds traceable thereto,
                          representing the proceeds of the offense, for which the
                          defendants are personally liable.

          6. By virtue of the commission of the offenses alleged in this Indictment, any

   and all interest the defendants have in the above-described property is vested in the

   United States and hereby forfeited to the United States pursuant to 18 U.S.C. §

   981(a)(1)(C), 18 U.S.C. § 982(a)(7), and 28 U.S.C. § 2461(c).

          All pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(7), and 28 U.S.C. §

   2461(c) and the procedures set forth at 21 U.S.C. § 853, as made applicable through 18

   U.S.C. § 982(b)(1).




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                                                     A TRUE BILL



                                                      GRAND JURY FOREPERSON

                                                             u(m(» >
                                                      Date



   STEPHEN J. COX
   UNITED STATES ATTORNEY
                                     /
   NATHANIEL C. KUMMERFELD
   ASSISTANT UNITED STATES ATTORNEY

    DRIAN (MRCIA
   ASSISTANT UNITED STATES ATTORNEY




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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                            § No. 4:20-CR-252
   v. § JUDGE ALM/KPJ
                                            §
   STEVEN CHURCHILL (01) §
   SAMSON SOLOMON (02) §
   DAVID WARREN (03) §
   DANIEL STADTMAN (04) §
   LYDIA HENSLEE (05) §

                                 NOTICE OF PENALTY

                                        COUNT 1

   VIOLATION: 18U.S.C. §371
                              Conspiracy to Commit Illegal Remunerations

   PENALTY: I prisonment of not more than five (5) years; the greater of a
                      fine not to exceed $250,000, a fine not to exceed two times
                      the gross gain to the Defendant, or a fine not to exceed two
                      times the loss to the victim, or both such imprisomnent and
                      fine; and a term of supervised release of not more than three
                      (3) years.

   SPECIAL ASSESSMENT: $100.00




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                                      UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS SHERMAN DIVISION

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number: 4:20-CR-00252-ALM-KPJ(3)
 DAVID WARREN                                                            §      USM Number: 19588-509
                                                                         §      Christopher Jay Downey
                                                                         §      Defendant’s Attorney

THE DEFENDANT:
 ☐ pleaded guilty to count(s)
       pleaded guilty to count(s) before a U.S. Magistrate
 ☒ Judge, which was accepted by the court.                       1 of the Third Superseding Indictment
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
 ☐     was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended        Count

  18 USC §371            Conspiracy to Commit Illegal Renumerations                                    1/2019               1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Remaining Count(s) and underlying Indictment(s) ☐ is ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  August 28, 2024
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge

                                                                  AMOS L. MAZZANT, III
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  August 28, 2024
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DEFENDANT:                DAVID WARREN
CASE NUMBER:              4:20-CR-00252-ALM-KPJ(3)

                                                       PROBATION

The defendant is hereby sentenced to probation for a term of: 5 years (60 months).




                                           MANDATORY CONDITIONS
 1.       You must not commit another federal, state or local crime.
 2.       You must not unlawfully possess a controlled substance.
 3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
 ☒        The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
 future substance abuse. (check if applicable)
 4.       ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.       ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
 in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.       ☐ You must participate in an approved program for domestic violence. (check if applicable)
 7.       ☐You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.
 (check if applicable)
 8.       You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.       If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this
 judgment.
 10.      You must notify the court of any material change in your economic circumstances that might affect your ability
 to pay restitution, fines, or special assessments. You must comply with the standard conditions that have been adopted
 by this court as well as with any additional conditions on the attached page.
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DEFENDANT:                 DAVID WARREN
CASE NUMBER:               4:20-CR-00252-ALM-KPJ(3)

                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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DEFENDANT:                DAVID WARREN
CASE NUMBER:              4:20-CR-00252-ALM-KPJ(3)

                                SPECIAL CONDITIONS OF SUPERVISION

You must provide the probation officer with access to any requested financial information for
purposes of monitoring fine/restitution payments and employment.

You must complete 60 hours of community service as directed by the probation officer.
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DEFENDANT:                   DAVID WARREN
CASE NUMBER:                 4:20-CR-00252-ALM-KPJ(3)



                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                    Assessment                 Restitution            Fine       AVAA Assessment*                         JVTA Assessment**
 TOTALS                  $100.00                      $.00            $.00                       $.00                                  $.00

 ☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case (AO245C) will be entered
       after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☐ the interest requirement is waived for the          ☐ fine                            ☐ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    DAVID WARREN
CASE NUMBER:                  4:20-CR-00252-ALM-KPJ(3)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $ 100.00 due immediately, balance due
        ☐ not later than                                        , or

        ☒ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☒       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or              ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. Any and all
              monetary penalties imposed by the Court are due and payable immediately by cashier's check or money order made out
              to the U.S. District Court and shall be forwarded to the U.S. District Court, Fine and Restitution Section, 211 West
              Ferguson Street, Room 106, Tyler, Texas 75702.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
        Cash proceeds obtained by the defendant in the amount of $342,122.57.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and
court costs.
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               011ÿ3454670689ÿ45 4ÿ84ÿ 8ÿ647ÿÿ388ÿ74ÿ ÿÿ0068ÿÿ6
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